      21-07015-rdd       Doc 2     Filed 03/18/21       Entered 03/18/21 16:05:46          Summons       Pg 1
                                                         of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Amy Solo                                                                 Bankruptcy Case No.: 19−22693−rdd

Amy Solo
                                                     Plaintiff(s),
−against−                                                                   Adversary Proceeding No. 21−07015−rdd
U.S. Department of Treasury Internal Revenue Service
                                                  Defendant(s)

                    SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                          IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days, to:

Address of Clerk:
                                                        Clerk of the Court
                                                        United States Bankruptcy Court
                                                        Southern District of New York
                                                        300 Quarropas Street
                                                        White Plains, NY 10601
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
Name and Address of Plaintiff's Attorney:
                                                           Todd S. Cushner
                                                           Cushner & Associates, P.C.
                                                           399 Knollwood Road
                                                           Suite 205
                                                           White Plains, NY 10603
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place:
                                                                 Room: Register at www.court−solutions.com,
United States Bankruptcy Court                                   Dial: (646)760−4600 five mins before hrg,
Southern District of New York                                    RDD Teleconference Line
300 Quarropas Street
White Plains, NY 10601                                           Date and Time: 5/6/21 at 10:00 AM
IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


Dated: 3/18/21                                             Vito Genna

                                                           Clerk of the Court

                                                           By: /s/ Justin Walker

                                                           Deputy Clerk
